   Case 3:07-bk-31422-rs         Doc 118 Filed 01/30/12 Entered 01/30/12 15:22:30            Desc
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                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TENNESSEE
                                      NORTHERN DIVISION


                                UNCLAIMED FUNDS IN CHAPTER 13 CASES

       Pursuant to 11 USC Section 347 and Bankruptcy Rule 3011, Gwendolyn M. Kerney, the Standing
Chapter 13 Trustee, hereby files with the Bankruptcy Court Clerk the following unclaimed funds report
evidencing the check number, amount of check, and the name/address of the entity entitled to unclaimed
funds in the referenced case.



       Case #:                  07-31422
       Debtor(s) Name:          ROBBIN LEANN LAMANCE /

       Unclaimed Funds Check #: 11255165
       Date Unclaimed Funds Check issued:          January 25, 2012

       Amount remitted to Unclaimed Funds - Case # 07-31422:                     $513.62
       Claim Number:             003-0
       Court Claim Number:       3

       Creditor Name and Address:

       ACQURA LOAN SERVICES SERVICING
       AGENT FOR ELLINGTON CREDIT FUND 1
       PO BOX 117622
       CARROLLTON, TN 75007-

                                                   /s/ Gwendolyn M. Kerney
                                                   GWENDOLYN M. KERNEY, #07280
                                                   Chapter 13 Trustee
                                                   P O Box 228
                                                   Knoxville, TN. 37901
                                                   (865) 524-4995
